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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 23-
Vv. : DATE FILED:
DONAVON ANTHONY PARISH : VIOLATIONS:
18 U.S.C. § 2261A(2) (cyberstalking - 4
counts)

18 U.S.C. § 875(c) (interstate
communication of threats - 6 counts)
Special Finding

INDICTMENT

COUNT ONE

THE GRAND JURY CHARGES THAT:
BACKGROUND
At all times material to this indictment:
1. Defendant DONAVON ANTHONY PARISH, a Mississippi resident, used a
Voice over Internet Protocol (“VoIP”) service provider to obtain a telephone phone number which could
be used from any smart phone, tablet or desktop computer with an internet connection, despite having
his own cellular telephone number.

2. VoIP technology allows users to transmit the human voice using a broadband

internet connection instead of a cellular or analog telephone line.

3 Business 1, located in the Eastern District of Pennsylvania, is a delicatessen open

daily to the public.
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PARISH’S CYBERSTALKING TARGETING BUSINESS 1

4, Between on or about April 24, 2022 and April 29, 2022, in Philadelphia, in the

Eastern District of Pennsylvania, and elsewhere, defendant
DONAVON ANTHONY PARISH,

with the intent to harass and intimidate employees and owners of Business 1, including S.T., B.S., and
J.K., who are known to the grand jury, used a facility of interstate and foreign commerce, that is, the
internet, to engage in a course of conduct that caused, attempted to cause, and would be reasonably
expected to cause substantial emotional distress to employees and owners of Business 1, including S.T.,
B.S., and J.K.

PARISH’S COURSE OF CONDUCT TARGETING BUSINESS 1

5. From in or about April 2022 to in or about May 2022, defendant DONAVON
ANTHONY PARISH used VoIP calls to make a series of terroristic threats to individuals at Jewish
institutions and organizations (including places of worship) and to individuals at Jewish-owned
businesses across the United States. Defendant PARISH used VoIP to mask his identity.

6. In this series of VoIP calls, defendant DONAVON ANTHONY PARISH spoke to
individuals answering the telephone on behalf of the institutions, organizations, or businesses. In these
calls, defendant PARISH repeatedly referenced Adolf Hitler and the Nazi Party’s genocide of
approximately six million Jewish people, specifically stating, among other things, “HEIL HITLER,”
“ALL JEWS SHOULD BURN,” “ALL JEWS MUST DIE,” “WE WILL PUT YOU IN WORK
CAMPS,” “GAS THE JEWS.” and “HITLER SHOULD HAVE FINISHED THE JOB.”

7. Specifically, from on or about April 24 to on or about April 29, 2022, defendant

DONAVON ANTHONY PARISH called Business | approximately 15 times.
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8. During at least one of these calls to Business 1, defendant DONAVON
ANTHONY PARISH stated to S.T., “HEIL HITLER.”

0. During other calls to Business 1, defendant DONAVON ANTHONY PARISH
stated to B.S., “HEIL HITLER, “ALL JEWS MUST DIE,” and “KILL K***S.”

All in violation of Title 18, United States Code, Sections 2261 A(2)(B) and 2261(b)(5).

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COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

ls Paragraphs 1-3, and 5-9 of Count One are incorporated here.

2. On or about April 24, 2022, in the Eastern District of Pennsylvania, and
elsewhere, defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Business 1, which
contained threats to injure employees and owners of Business 1, including S.T., B.S. and J.K., who are
known to the grand jury, and members of the Jewish community.

In violation of Title 18, United States Code, Section 875(c).
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COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:
BACKGROUND

At all times material to this indictment:

Le Paragraphs 1-2 and 5-6 of Count One are incorporated here.

2. Synagogue 1, located in the Eastern District of Pennsylvania, was a place of
Jewish religious worship. Synagogue | operated a full day childcare and preschool! program for children
aged six weeks through five years old. In addition, Synagogue | rented its venues for parties, meetings,
conferences, and other events including receptions, weddings, festivities, and family milestone
celebrations.

DEFENDANT PARISH’S CYBERSTALKING TARGETING SYNAGOGUE 1

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3. On or about May 2, 2022, in Philadelphia, in the Eastern District of Pennsylvania,
and elsewhere, defendant
DONAVON ANTHONY PARISH,
with the intent to harass and intimidate employees and members of Synagogue 1, including D.H., who is
known to the grand jury, used a facility of interstate and foreign commerce, that is, the internet, to
engage in a course of conduct that caused, attempted to cause, and would be reasonably expected to
cause substantial emotional distress to employees and members of Synagogue 1, including D.H.
DEFENDANT PARISH’S COURSE OF CONDUCT TARGETING SYNAGOGUE 1

4. On or about May 2, 2022, defendant DONAVON ANTHONY PARISH, using
VoIP, called Synagogue | approximately five times.

5. During one of these calls to Synagogue 1, defendant DONAVON ANTHONY

PARISH repeatedly stated to D.H.. “WE WILL PUT YOU IN WORK CAMPS.”
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6. During another of these calls to Synagogue 1, defendant DONAVON
ANTHONY PARISH stated to D.H., “DEATH TO THE JEWS.”

All in violation of Title 18, United States Code, Section 2261 A(2)(B) and 2261(b)(5).
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COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

1, Paragraphs 1-2 and 4-6 of Count Three are incorporated here.

2. On or about May 2, 2022, in Philadelphia, in the Eastern District of Pennsylvania,
and elsewhere, defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Synagogue 1, which
contained a threat to injure employees and members of Synagogue 1, including D.H., who is known to
the grand jury, and members of the Jewish community.

In violation of Title 18, United States Code, Section 875(c).
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COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:
BACKGROUND
At all times material to this indictment:
1, Paragraphs 1-2 and 5-6 of Count One are incorporated here.
2. Synagogue 2, located in the Eastern District of Pennsylvania, was a place of
Jewish religious worship. Synagogue 2 also housed a preschool and kindergarten.

DEFENDANT PARISH’S CYBERSTALKING TARGETING SYNAGOGUE 2

3: On or about May 2, 2022, in Philadelphia, in the Eastern District of Pennsylvania,

and elsewhere, defendant
DONAVON ANTHONY PARISH,
with the intent to harass and intimidate employees and members of Synagogue 2, including R.K. and
B.B., who are known to the grand jury, used a facility of interstate and foreign commerce, that is, the
internet, to engage in a course of conduct that caused, attempted to cause, and would be reasonably
expected to cause substantial emotional distress to employees and members of Synagogue 2, including
R.K. and B.B.
DEFENDANT PARISH’S COURSE OF CONDUCT TARGETING SYNAGOGUE 2
4. On or about May 2, 2022, defendant DONAVON ANTHONY PARISH, using

VoIP, called Synagogue 2 approximately two times.

5. During one of these calls to Synagogue 2, defendant DONAVON ANTHONY

PARISH stated to R.K., “GAS THE JEWS.”
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6. During another call to Synagogue 2, defendant DONAVON ANTHONY PARISH
stated to B.B., “HITLER WAS RIGHT. GAS THE JEWS.”

All in violation of Title 18, United States Code, Section 2261A(2)(B) and 2261(b)(5).
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COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

1. Paragraphs 1-2 and 4-6 of Count Five are incorporated here.

2: On or about May 2, 2022, in the Eastern District of Pennsylvania, and elsewhere,
defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Synagogue 2, which
contained a threat to injure employees and members of Synagogue 2, including R.K. and B.B., who are
known to the grand jury, and members of the Jewish community.

In violation of Title 18, United States Code, Section 875(c).
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COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:
BACKGROUND
At all times material to this indictment:
1. Paragraphs 1-2 and 5-6 of Count One are incorporated here.
2. Business 2, located in the Eastern District of Pennsylvania, is a delicatessen open
daily to the public.

DEFENDANT PARISH’S CYBERSTALKING TARGETING BUSINESS 2

3. From on or about April 24, 2022, to on or about April 28, 2022, in Philadelphia,

in the Eastern District of Pennsylvania, and elsewhere, defendant
DONAVON ANTHONY PARISH,
with the intent to harass and intimidate employees and owners of Business 2, including N.D., who is
known to the grand jury, used a facility of interstate and foreign commerce, that is, the internet, to
engage in a course of conduct that caused, attempted to cause, and would be reasonably expected to
cause substantial emotional distress to employees and owners of Business 2, including N.D.
DEFENDANT PARISH’S COURSE OF CONDUCT TARGETING BUSINESS 2

4. On or about April 24, 2022, defendant DONAVON ANTHONY PARISH, using
VoIP, called Business 2 and stated to N.D., “HEIL HITLER” and “ALL JEWS SHOULD BURN.”

5. On or about April 28, 2022, defendant DONAVON ANTHONY PARISH, using
VoIP, called Business 2 and stated to N.D., “HEIL HITLER” and “ALL JEWS SHOULD BURN.”
“ALL JEWS MUST DIE,” “YOU ARE TERRIBLE, F**K YOU ... HEIL HITLER.”

All in violation of Title 18, United States Code, Section 2261 A(2)(B) and 2261(b)(5).

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COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

y. Paragraphs 1-2 and 4-5 of Count Seven are incorporated here.

2. On or about April 28, 2022, in the Eastern District of Pennsylvania, and
elsewhere, defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Business 2, which
contained a threat to injure employees and owners of Business 2, including N.D., who is known to the
grand jury, and members of the Jewish community.

In violation of Title 18, United States Code, Section 875(c).
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COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

L. Paragraphs 1-2 and 5-6 of Count One are incorporated herein by reference.

2. Business 3, located in the Eastern District of Pennsylvania, is a delicatessen open
daily to the public.

3. On or about April 28, 2022, in the Eastern District of Pennsylvania, and
elsewhere, defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Business 3, which
contained a threat to injure employees and owners of Business 3, including J.I. and J.M., who are known
to the grand jury, and members of the Jewish community, by stating, “GAS THE JEWS” and “BURN
ALL JEWS.”

In violation of Title 18, United States Code, Section 875(c).
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COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

1. Paragraphs 1-2 and 5-6 of Count One are incorporated here.

oe Synagogue 3, located in the Eastern District of Pennsylvania, was a place of
Jewish religious worship.

ae On or about May 2, 2022, in the Eastern District of Pennsylvania, and elsewhere,
defendant

DONAVON ANTHONY PARISH

knowingly, with the knowledge that the communication would be viewed as a threat and for the purpose
of issuing a threat, transmitted in interstate commerce a communication, that is, an electronic
communication transmitting his voice from Mississippi using a VoIP service to Synagogue 3, which
contained a threat to injure employees and members of Synagogue 3, including Z.G, who is known to
the grand jury, and members of the Jewish community, by stating, “GAS THE JEWS” and “HITLER
SHOULD HAVE FINISHED THE JOB.”

In violation of Title 18, United States Code, Section 875(c).
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SPECIAL FINDING

THE GRAND JURY FURTHER CHARGES THAT:

Defendant DONAVON ANTHONY PARISH intentionally selected Businesses 1 — 3 and
Synagogues | — 3, as the objects of the offenses charged in Counts One through Ten of this Indictment,
which are incorporated by reference, because of the actual and perceived religion of individuals
associated with Businesses 1 — 3 and Synagogues | — 3.

In violation of U.S.S.G. § 3A1.1(a).

A TRUE BILL:

FOKEPERSON

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JACQUELINE C. ROMERO
UNITED STATES ATTORNEY
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